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                                                                                       U.S. DISTRICT COURT
                                                                                           N.D. OF ALABAMA


          IN THE UNITED STATES DISTRICT COURT
             NORTHERN DISTRICT OF ALABAMA
                   SOUTHERN DIVISION


EVAN MILLIGAN, et al.,

            Plaintiffs,
                                                 No. 2:21-cv-01530-AMM
            vs.

JOHN H. MERRILL, et al.,

            Defendants.




              Preliminary Expert Report of Baodong Liu, Ph.D.

                               December 10, 2021


 I.    Introduction

       I have been retained as an expert by counsel for the Plaintiffs in the above-
       captioned litigation. I have prepared this report pursuant to Federal Rule of
       Civil Procedure 26(a)(2)(B).

       I have been asked to express opinions on whether racially polarized voting
       (RPV) exists in Alabama, and whether or not RPV has resulted in the defeats
       of Black-preferred candidates in Alabama Congressional elections.

       I am being compensated at $300 per hour for my work on this case. My
       compensation is not contingent on or affected by the substance of my opinions
       or the outcome of this litigation. My work in this matter is ongoing, and I
       reserve the right to amend, modify, or supplement my analysis and opinions.

 II.   Background on Racially Polarized Voting

       In the landmark Thornburg v. Gingles (1986), the Supreme Court provided the
       precise three-prong dilution test in litigation arising under Section 2 of the
       Voting Rights Act (VRA). The Gingles test asks whether: 1) the racial or



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       language minority group is “sufficiently large and geographically compact to
       constitute a majority in a single-member district”; 2) the minority group is
       “politically cohesive” (meaning its members tend to vote for the same
       candidate); and 3) the “majority votes sufficiently as a bloc to enable it ...
       usually to defeat the minority’s preferred candidate.” In particular, the second
       and the third preconditions under the Gingles test have become the legal
       definition of RPV.

III.   Summary of Professional Qualifications

       I am a tenured professor of political science in the Department of Political
       Science at the University of Utah. I have done extensive research regarding
       the relationship between election systems and the ability of minority voters to
       participate fully in the political process and to elect representatives of their
       choice.

       My research has won the Byran Jackson Award for the best study/dissertation
       about racial voting from the Urban Politics Section of the American Political
       Science Association, and the Ted Robinson Award from the Southwest
       Political Science Association. The results of my research have been published
       in peer-reviewed journals, including Social Science Quarterly, American
       Politics Research, Sociological Methods and Research, PS: Political Science
       and Politics, Urban Affairs Review, Political Behavior, Journal of Urban
       Affairs, Southeastern Political Review, and American Review of Politics,
       among other journals. I am also an author or editor of eight scholarly books
       including Political Volatility in the United States: How Racial and Religious
       Groups Win and Lose; Solving the Mystery of the Model Minority; The
       Election of Barack Obama: How He Won, and Race Rules: Electoral Politics
       in New Orleans, 1965-2006. I have also served as a member of the Board of
       Directors/Advisors on many national and international organizations such as
       the National Association for Ethnic Studies, Urban Affairs Review, Journal of
       Behavioral and Social Sciences, and International Encyclopedia of Political
       Science (CQ Press).

       As an expert on RPV analysis, I have published peer-reviewed journal articles
       and books on the cutting-edge techniques used by academic professionals and
       supported by courts in voting rights cases and on the electoral history of the
       South. I have served as an expert witness in dilution cases in several states,
       including Alabama, Arkansas, New York, Louisiana, Utah, and Tennessee.
       Furthermore, I have provided my expertise to the US Department of Justice
       and others on census differential privacy policy and methodological issues
       concerning RPV. I have also been an invited instructor for expert training
       programs on RPV analysis concerning both the 2010 and 2020 rounds of
       redistricting.




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             My applied research and grants have included analyses of ranked-choice
             voting, economic development, racial voting patterns, public school science
             education, school districts’ economic impact on the local economy, and
             various citizen surveys. My grants have come from New America, the
             National Science Foundation, American Political Science Association, the
             National Humanities Center, Wisconsin Security Research Consortium, Fond
             du Lac School District, Johnson Controls, Inc, City of Waupaca (WI), the
             League of Women Voters, American Democracy Project, and Wisconsin
             Public Service. I also served as the editor of Urban News for the American
             Political Science Association’s Urban Politics Section, and I was elected as a
             co-chair of the Asian Pacific American Caucus of the American Political
             Science Association.

             I have served as a commentator or opinion writer for the Salt Lake Tribune,
             ABC4News, Hinkley Forum, NPR, AP, Daily Utah Chronicle, Milwaukee
             Sentinel Journal, Daily Caller, and KSL, among other media outlets.

             At my university, I served as Associate Chair of the Department of Political
             Science and the Interim Director of the Ethnic Studies Program, the MLK
             Committee Chair, and a faculty senator.

             Attached as Appendix 1 is a curriculum vitae setting forth my professional
             background, which includes a list of all publications I have authored or co-
             authored, including forthcoming publications.

    IV.      Opinions

             I have formed the following opinions:

             Based on the data available at the time of writing this report, voting in
             Alabama since 2008 is “racially polarized” in that Black voters in 13 of the 13
             elections analyzed have expressed a clear preference for the same candidate,
             and in each of the elections analyzed, the candidate preferred by Black voters
             was a Black candidate. Furthermore, this preference was not shared by the
             white voters who were the majority of the electorate. As a result, the Black
             preferred candidates were typically defeated in biracial elections in Alabama.

    V.       Elections Analyzed

             In a case challenging a redistricting plan of Congressional districts under
             Section 2 of the Voting Rights Act, such as this one, I am aware of case law
             stating that endogenous elections providing a choice between voting for a
             white candidate and voting for a minority (in this case, Black) candidate are
             generally considered the most probative for assessing RPV. 1 My focus on

1
  See Wright v. Sumter Cnty., 979 F. 3d 1282, 1292-93 (11th Cir. 2020) ("[E]vidence drawn from elections
involving black candidates is more probative in Section Two cases"); Clark v. Calhoun Cnty., Miss., 88


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                biracial endogenous elections is consistent with scholarly research, which
                finds that minority voters are mobilized in elections involving a minority
                candidate running against white candidates. 2 Congressional elections in the
                districts at issue in this litigation are called endogenous elections. I identified
                and reviewed endogenous elections in which there were both a Black
                candidate and a white candidate (i.e., biracial elections) since 2008. 3 The
                reason to select only biracial elections is because these elections satisfy the
                necessary conditions on which Black voters and non-Black voters had a
                realistic opportunity to vote for the candidate of their choice which is not
                available in uni-racial elections involving only white candidates (or involving
                only Black candidates). Seven endogenous biracial elections were analyzed in
                this report.

                Since there were only seven such endogenous biracial elections during the
                period under study, I also identified and reviewed six biracial elections for
                statewide elected offices in the same period. The elections that did not
                concern the electoral offices at issue in this matter are called exogenous
                elections. 4 Two of these state-wide biracial exogenous elections were for Lt.
                Governor (2018 and 2014), two were for the 2018 State Auditor election and
                2014 Secretary of State election, and the other two were for the presidential
                elections in 2008 and 2012 which involved a Black candidate, Barack Obama,
                as the nominee for a major political party. In addition, I reviewed exit poll
                data from the 2008 presidential primary, presidential general, and Senate
                general elections in Alabama.

       VI.      Measurement of RPV

                I used the following two-step operational rules to measure whether a
                particular election is racially polarized: 1) I first estimate the Black and white
                group support 5 for the Black candidate in a biracial election; and 2) if in this
                biracial election the majority of Black voters cast their vote for the Black
                candidate, and only a minority of white voters cast their vote for the same
                Black candidate, then this election is racially polarized.


F.3d 1393, 1397 (5th Cir. 1996) ("[E]xogenous elections-those not involving the particular office at issue-
are less probative than elections involving the specific office that is the subject of the litigation.").
2
  Matt A. Barreto. 2012. Ethnic Cues: The Role of Shared Ethnicity in Latino Political Participation.
University of Michigan Press; Karen M. Kaufmann. 2004. The Urban Voter: Group Conflict and Mayoral
Voting Behavior in American Cities. University of Michigan Press; .
3
  While more recent elections are more probative than distant past elections, my decision to include biracial
elections since 2008 also took into consideration of the two census datasets (the 2010 and 2020 datasets)
that provided a longitudinal analysis for a period long enough to allow the examination of RPV pattern over
time (or lack of).

4
 Evidence from exogenous elections can be used to supplement evidence from endogenous elections,
particularly where there is little data from recent endogenous elections.
5
    Support is defined as over 50% of votes for a particular candidate.


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             Since voting in the United States takes place in privacy, the only way to
             determine whether or not RPV existed in a given election is through statistical
             procedures. In this report, I analyzed the biracial elections using the award-
             winning Ecological Inference (EI) method developed by Professor Gary King
             of Harvard University. 6 EI is a statistical procedure for estimating voting
             results of voter groups (in this case grouped by race), and it has been widely
             used as the most-advanced and reliable statistical procedure for RPV estimates
             in not only academic research but also voting rights cases in the last two
             decades. To run an EI operation, the specific election return data at the
             precinct-level needed to be matched with the voting-age population (VAP)
             data for the non-Hispanic white-majority, and the Black, Hispanic, and “all
             other” racial groups at the level of the Voting Tabulation District (VTD) or
             other reporting unit based on the closest census regarding Alabama. 7

             There are other statistical procedures that have been used to analyze RPV.
             One such procedure that has been used in dilution cases relies on various
             regression tools. The regression tools are inadequate for the analysis necessary
             for the RPV analysis here, and I explain why. To demonstrate the use of such
             regression tools, Figure 1 uses the 2020 Congressional District 1 general
             election in Alabama as an example. It shows a scatterplot for the relationship
             between the Black-voter proportion in precincts and the proportion of votes
             cast for the James Averhart, the Black candidate who ran against the white
             candidate, Jerry Carl.




6
  See Gary King, A Solution to the Ecological Inference Problem: Reconstructing Individual Behavior from
Aggregate Data (Princeton University Press, 1997).
7
  I also ran the same EI operations for all the elections analyzed in this report based on the American
Community Survey (ACS) data, and results are very similar to those provided in Tables 1 and 2 of this
report. Election results were compiled from https://www.sos.alabama.gov and, per my specifications,
precinct-level results data was provided by Plaintiffs’ counsel using the process described in Appendix 3.


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                                      Figure 1
                   Regression Method to Measure RPV: An Example




     Each circle in Figure 1 represents a voting precinct in Congressional District
     1. It is clear from Figure 1 that as the fraction in the Black group increases in a
     precinct, so does Averhart’s share of votes. To capture this positive
     relationship, regression methods use a straight line to make the best fit for the
     data. The Single Regression Method (also called Goodman Regression) uses
     the slope and the intercept of the regression line to estimate the Black and
     non-Black voters’ support for Averhart in Congressional District 1. Based on
     this procedure, it is estimated that the Black voting group provided Averhart
     with 105.7% of their votes while the non-Black group voted for him at the
     9.5% level. Of course, based on the two-step operational rules specified
     above, the Congressional District 1 election in Alabama in 2020 was racially
     polarized, in that Black voters overwhelmingly supported Averhart whereas
     the super-majority of the non-Black voters voted against him.

     If the above regression procedure is adopted to analyze all biracial elections in
     Alabama, it will unfortunately provide a misleading result. Obviously,
     Averhart’s Black support should never surpass the 100% maximum value
     which is exactly the rule that the Single Regression Method violates in the
     Congressional District 1 example. There are other limitations of the Single
     Regression Method that make it a subpar tool for RPV analysis. For example,
     it assumes that all Black voters, regardless of which precinct they are located,
     voted at the same rate for the Black candidate in a given election; and in
     making estimates for racial groups’ support for the Black candidate, the Single
     Regression Method treated all precincts with exactly the same weight




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             regardless of how many voters in that precinct cast their votes. 8 As a result of
             the aforementioned limitations and errors, experts in this field have
             increasingly replaced the regression-related tools with more advanced
             statistical procedures.

             Thus, rather than regression-related tools, I instead analyzed the biracial
             elections based on EI method. One of the main reasons to use the EI method
             in the estimation of single-member district elections, rather than the regression
             methods, is because it always generates realistic estimates. 9 With respect to
             the Congressional District 1 election in Alabama in 2020, for example, the EI
             method estimated that Averhart received 93.3 % of the votes from the Black
             voter group and 12.6% of the votes from the white voter group. The realistic
             estimation of group votes is guaranteed through EI’s method of bounds
             feature, which adopts the mathematical rule to determine the maximum and
             minimum number of votes cast by a particular racial group for a particular
             candidate. For example, if a precinct has only five Black registered voters and
             the total votes cast for the only Black candidate in the election is 10, then at
             least five of the total 10 votes are from non-Black registered voters, which is a
             mathematical necessity.

             EI also provides not only the point estimates for racial voting patterns, but
             also the standard errors (or 95% confidence interval) associated with these
             point estimates, which is to be understood as the uncertainty boundaries
             beyond the point estimates. The point estimates are to be considered as the
             most likely vote percentages cast for a given candidate by different racial
             groups in a given election. 10

             The point estimates and the uncertainty boundaries can be visually displayed
             by the EI technology. We can once again use the 2020 Congressional District
             1 election as an example. The data at the precinct-level for Black, white, and
             Hispanic voting age population (VAP) and the votes cast for Averhart and his
             white opponent, Jerry Carl are available at the time of writing this report.
             Figure 2 is the Density Plot based on the Ecological Inference (EI) estimations

8
  Because of the clear limitations of the Single Regression Method concerning RPV analysis, some scholars
proposed some alternatives such as weighted regression or double-regression method to remedy the specific
limitations. But none of the regression tools can avoid a vital mistake in all circumstances, that is, to
generate unrealistic estimates (e.g., more than 100% Black support for a Black candidate, or less than 0%
support from the non-Black group for a Black candidate).
9
  For detailed discussions of EI method, compared to previous statistical procedures, see my article: Liu,
Baodong. (2007). "EI Extended Model and the Fear of Ecological Fallacy," Sociological Methods and
Research 36 (1): 3-25.
10
   In statistical analysis, point estimates are estimated through the empirical data on which theorems
(especially the central limit theorem) are applied. The point estimates are the exact numbers (for example,
Black voters cast exact 86.3% of their vote for a Black candidate) which are “the best” estimation, given
the data, but also are “uncertain” in that the reality may be “off” from this best estimation. The extent to
which the reality may deviate from it is known as standard errors. Scholars accept conventionally a 95%
confidence interval where the lowest possible value and the highest possible value around the best point
estimate are specified based on the central limit theorem.


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                of data for multiple racial groups. 11 The red curve on the left shows the
                boundary of the white vote for Averhart, and the green curve on the right
                displays that of the Black vote, which is a clear picture of RPV. Note that
                there are also two other curves in the middle of the plot. These two curves (in
                blue and pink colors) showed the support for Averhart from Hispanic voters
                and the “other” minority racial group (which includes, for example, Asians
                and Indigenous Americans). Note also that the bottom panel shows the plot
                for Carl.

                                    Figure 2: Density Plot based on EI Operation




       VII.     The Findings

                As explained above, the selection of the elections for my RPV analysis is
                based on three critical criteria: 1) biracial elections involving at least one
                Black candidate and one white candidate; 2) endogenous biracial elections
                supplemented by exogenous biracial elections (i.e., non-Congressional biracial
                elections); and 3) elections during the last 15 years. My analysis focuses on
                elections in the last 15 years as more recent elections are most probative in
                identifying RPV. 12

11
     I used the eiPack R-package to derive the racial estimates for multiple groups.
12
  As a statistical rule, more recent elections help us understand what just happened and predict what will
happen in the near future. Biracial endogenous electoral competitions are the most probative elections to
analyze.


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         Winfrey, the Black candidate, received 92.6% of the votes from Black
         voters and 6.6% from white voters. In the 2018 Congressional District 1
         general election, Robert Kennedy Jr., the Black candidate, received 94.6%
         of the votes from Black voters and only 8.1% from white voters. The only
         Black candidate who was able to win a biracial Congressional election in
         Alabama was Terri Sewell who ran in Congressional District 7 which has
         been a Black-majority district since the 1990s. Her two contested elections
         in 2010 and 2012 were both highly racially polarized. In 2010, she won
         95.5% of the Black vote but only 19.3% of the white vote. In 2012, as an
         incumbent running against the same white Republican candidate, Don
         Chamberlain, Sewell won 96.3% of the Black vote and only 26.1% of the
         white vote.

         These endogenous election analyses revealed the same pattern of RPV
         which led to the same result in non-Black-majority districts, that is, the
         defeat of the Black candidate by his/her white opponent in each election
         despite Black voters’ clear support for the Black candidate, though
         Averhart did make into the Democratic Primary runoff for Congressional
         District 1 in 2020 and later was defeated in the general election.

         It should also be noted that I have examined the RPV pattern, or lack of it,
         in the Congressional Districts at issue in this litigation by using the
         election returns in those districts from state-wide elections. My analysis
         shows consistently that RPV existed in these Congressional Districts in
         those state-wide biracial elections. I will show the results of RPV analyses
         in these elections in the following section.

      B) Exogeneous Elections

         All exogeneous elections analyzed in this report showed a high level of
         racial polarized voting, as shown in Table 2.

         Specifically, Will Boyd and Miranda Joseph as the Black candidates in the
         2018 Lt. Governor and State Auditor elections received 95.5% and 95.4%
         of the votes cast by Black voters, respectively, whereas votes from white
         voters were as low as 11.0% and 12.1% respectively.

         In the 2014 general election, James Fields, a Black candidate running
         against the white incumbent Republican candidate, Kay Ivey. Fields
         received 94.0% of the Black vote and 14.9% of the white vote, and was
         defeated with 36.7% of total votes cast. In the same year, Lula Albert-
         Kaigler, a Black candidate competed in the Secretary of State election, and
         received 35.6% of the total votes. She was defeated by her white
         Republican opponent, John Merrill. She received 95.1% of the Black vote
         and only 12.0% of the white vote in this highly racially polarized state-
         wide election.



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         As mentioned above, I also examined the detailed RPV results in
         Congressional districts by using state-wide election results in the 2018 Lt.
         Governor race and the 2012 and 2008 presidential races. In my analysis,
         the Black candidates lost every Congressional district except CD7 because
         of RPV. For example, in the 2008 presidential election, the Congressional
         districts revealed the same pattern. Table 3 provides the RPV statistics
         based on the same EI operation that was applied to 7 Congressional
         districts separately.

         As shown in Table 3, Black voters were almost uniformly supportive of
         Obama in the 2008 Presidential election. But CD7 provided the highest
         level of support for him and made him the winner of the District with
         70.1% of the votes cast. This was largely due to the almost universal
         Black support there (at 97%), and the white bloc voting at the 13% level
         did not lead to his failure of winning this majority-Black district.




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                 The RPV in the other six districts, however, produced an opposite result.
                 Obama lost all other Congressional districts in Alabama in 2008. Even in
                 CD6 where Obama’s Black support was in the 50% range, by far the
                 lowest in Alabama, the white bloc voting at 17% support level for him was
                 enough to defeat him in CD6. 15 The RPV results in CDs 1 through 5
                 displayed similar patterns as the racial gap was more than 60%, and even
                 reached 80% in CD1. In short, RPV was instrumental in Obama’s defeat
                 in all these Congressional districts.

     VIII.   Review of Exit Polls

                 The RPV results based on EI in this report regarding Obama’s 2008 and
                 2012 general elections are consistent with the exit poll results conducted
                 by major media networks. Because voters do not register by party in
                 Alabama, the exit polls also help us understand the votes of self-identified
                 Democrats and Republicans. For example, according to the 2008 exit poll,
                 Obama won 98% of Black voters in Alabama, and John McCain, a white
                 Republican, won 88% of white voters. McCain won a majority (51%) of
                 white Democrats, and Obama won only 47% of white Democrats. 16 And,
                 in the 2012 Presidential election, 84% of white people in Alabama voted
                 for Romney while white support for Obama was only 15%. 17

                 In addition, I reviewed exit poll data for the 2008 Presidential Democratic
                 Primary 18 and the 2008 U.S. Senate elections 19 in Alabama which
                 revealed a similar pattern of racially polarized voting. In the 2008
                 Primary, Hilary Clinton, a white woman, received 72% of the white vote,
                 and Obama received 84% of the Black vote. In the 2008 Senate race,
                 white voter support for U.S. Senator Jeff Sessions was 89% against Vivian
                 Figures, a Black candidate. Sessions received 58% of the white
                 Democratic vote and 96% of the white Republican vote. Figures won 90%
                 of the black vote.

     IX.     Effectiveness Analysis: Different Plans Compared

                 I have also conducted a comparative study of three Alabama
                 Congressional redistricting plans based on their performance in the most
                 recent statewide elections in Alabama. These three plans are the Adopted
                 Congressional Plan, and the two versions of CD Plans provided to me by
                 Plaintiffs’ counsel (named as PLSCD_Plan B and PLSCD_Plan D,


15
   Note also that CD6’s RPV result showed a higher level of uncertainty based on 95% confidence interval.
16
   See http://www.cnn.com/ELECTION/2008/results/polls/#val=ALP00p1. Also see Table 7.1 of my book,
The Election of Barack Obama: How He Won, for the comparison of RPV in Alabama in 2008, compared
to other states (Liu, 2010, p. 117)
17
   See https://www.amren.com/features/2012/11/race-and-the-2012-election/.
18
   See https://abcnews.go.com/images/PollingUnit/ALDemHorizontal.pdf.
19
   See http://www.cnn.com/ELECTION/2008/results/polls/#val=ALP00p1.


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                    respectively). I reported my analysis based on their performance using the
                    2018 Lt. Governor and 2018 State Auditor election results. 20

                    The most important findings of my comparative study concern CDs 2 and
                    7. With respect to CD2, the Adopted Congressional Plan led to the defeat
                    of the Black candidates whereas the two Plaintiffs’ Plans did not.

                                     Table 4: CD2
         Plans Compared, based on the RPV Analysis of the 2018 Lt. Gov Election

Adopted Plan
 Group     Turnout                     Blk Candidate         Wht Candidate
 Black     0.432 (0.404,               0.932 (0.897,         0.068 (0.048,
           0.448)                      0.952)                0.103)
 White     0.425 (0.419,               0.043 (0.032,         0.957 (0.929,
           0.432)                      0.071)                0.968)
 Total     0.424                       0.355                 0.645

PLSCD_PlanB
 Group   Turnout                       Blk Candidate         Wht Candidate
 Black   0.47 (0.454,                  0.962 (0.946,         0.038 (0.028,
         0.48)                         0.972)                0.054)
 White   0.433 (0.427,                 0.08 (0.067,          0.92 (0.882,
         0.439)                        0.118)                0.933)
 Total   0.448                         0.568                 0.432

PLSCD PlanD
 Group   Turnout                       Blk Candidate         Wht Candidate
 Black   0.462 (0.448,                 0.957 (0.939,         0.043 (0.032,
         0.474)                        0.968)                0.061)
 White   0.451 (0.436,                 0.092 (0.075,         0.908 (0.881,
         0.466)                        0.119)                0.925)
 Total   0.452                         0.555                 0.445

                    As shown in Table 4, the RPV pattern was present in all three plans. But
                    the Adopted Plan minimized the Black VAP percentage at less than 30%
                    in CD2 while the two Plaintiffs’ plans increased it to around 50%. This
                    major difference led to different election outcomes in that Will Boyd, the
                    Black Democratic candidate in the Lieutenant Governor’s race, would
                    have been the winner had he run in the CD2 of the Plaintiffs’ plans, but
                    would have lost CD2 in the Adopted Congressional Plan.




20
     For my effectiveness analysis, I used any-part Black VAP for the Black racial group measurement.


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              If one evaluates the effectiveness of different plans based on the 2018
              State Auditor election results, the CD2 also produces the similar results of
              the 2018 Lt. Governor election (see Table 5).

                                Table 5: CD2
  Plans Compared, based on the RPV Analysis of the 2018 State Auditor Election

Adopted Plan
 Group     Turnout            Blk Candidate       Wht Candidate
 Black     0.437 (0.423,      0.946 (0.907,       0.054 (0.033,
           0.456)             0.967)              0.093)
 White     0.417 (0.407,      0.049 (0.037,       0.951 (0.923,
           0.426)             0.077)              0.963)
 Total     0.419              0.366               0.634

PLSCD Plan B
 Group   Turnout              Blk Candidate       Wht Candidate
 Black   0.472 (0.465,        0.964 (0.947,       0.036 (0.027,
         0.48)                0.973)              0.053)
 White   0.433 (0.423,        0.102 (0.085,       0.898 (0.875,
         0.444)               0.125)              0.915)
 Total   0.442                0.578               0.422

PLSCD Plan D
 Group   Turnout              Blk Candidate       Wht Candidate
 Black   0.456 (0.438,        0.952 (0.91,        0.048 (0.033,
         0.467)               0.967)              0.09)
 White   0.444 (0.434,        0.111 (0.075,       0.889 (0.812,
         0.459)               0.188)              0.925)
 Total   0.446                0.564               0.436

              With respect to CD7, though all three plans produced the same result, that
              is, the election of the Black candidates in both 2018 state-wide election,
              the Adopted plan packed the Black voting age population to about 54%
              while the two Plaintiffs’ plans made the district around 50-52% Black
              majority. The comparisons are shown using the two state-wide election
              results in Tables 6 and 7.




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                                Table 6: CD7
  Plans Compared, based on the RPV Analysis of the 2018 Lt Governor Election

Adopted Plan
 Group     Turnout         Blk Candidate    Wht Candidate
 Black     0.503 (0.49,    0.963 (0.932,    0.037 (0.025,
           0.513)          0.975)           0.068)
 White     0.415 (0.406,   0.159 (0.13,     0.841 (0.786,
           0.425)          0.214)           0.87)
 Total     0.454           0.659            0.341

PLSCD_PlanB
 Group   Turnout           Blk Candidate    Wht Candidate
 Black   0.508 (0.482,     0.959 (0.943,    0.041 (0.027,
         0.523)            0.973)           0.057)
 White   0.41 (0.397,      0.143 (0.11,     0.857 (0.796,
         0.429)            0.204)           0.89)
 Total   0.447             0.617            0.383

PLSCD PlanD
 Group   Turnout           Blk Candidate    Wht Candidate
 Black   0.509 (0.496,     0.946 (0.914,    0.054 (0.036,
         0.523)            0.964)           0.086)
 White   0.409 (0.394,     0.19 (0.153,     0.81 (0.757,
         0.428)            0.243)           0.847)
 Total   0.449             0.628            0.372

                                Table 7: CD7
  Plans Compared, based on the RPV Analysis of the 2018 State Auditor Election

Adopted Plan
 Group     Turnout         Blk Candidate    Wht Candidate
 Black     0.507 (0.498,   0.952 (0.93,     0.048 (0.026,
           0.516)          0.974)           0.07)
 White     0.396 (0.375,   0.162 (0.138,    0.838 (0.808,
           0.408)          0.192)           0.862)
 Total     0.449           0.661            0.339




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PLSCD PlanB
 Group   Turnout            Blk Candidate       Wht Candidate
 Black   0.498 (0.487,      0.959 (0.934,       0.041 (0.025,
         0.508)             0.975)              0.066)
 White   0.398 (0.385,      0.132 (0.091,       0.868 (0.796,
         0.415)             0.204)              0.909)
 Total   0.443              0.619               0.381

PLSCD PlanD
 Group   Turnout            Blk Candidate       Wht Candidate
 Black   0.501 (0.491,      0.96 (0.929,        0.04 (0.027,
         0.511)             0.973)              0.071)
 White   0.401 (0.391,      0.155 (0.129,       0.845 (0.77,
         0.411)             0.23)               0.871)
 Total   0.444              0.629               0.371

   X.    Conclusion

            The empirical analyses clearly revealed that in 13 out of the 13 elections
            (100%) in which Black voters expressed a preference for Black
            candidates, that preference was not shared by white majority voters. This
            RPV pattern is confirmed not only by the seven endogenous biracial
            elections, but also by the six statewide biracial elections during the last
            decade. Despite Black voters uniting cohesively behind their preferred
            candidates, the white majority voted sufficiently as a bloc to typically
            defeat all the Black candidates in these elections. The only Black success
            in winning a biracial endogenous election since the 2008 elections was
            Terri Sewell who ran in a Black-majority congressional district.
            Furthermore, it is also shown in this empirical analysis, Obama won only
            in Congressional District 7 in the 2008 and 2012 elections where Black
            voters were the majority and white bloc voting was not enough to defeat
            him, thanks to the very high level of Black-voter cohesion there.

            Thus, my empirical analysis indicates that the characteristics of “racial
            polarization,” meaning Black voters tend to vote for the same candidate
            and the white majority votes as a bloc to usually to defeat the Black
            preferred candidate, has been met in the Congressional districts at issue
            here in recent endogenous and exogenous elections.

            My effectiveness analysis also shows that the two plans proposed by
            Plaintiffs that I analyzed clearly offer Black voters in Alabama more
            opportunities to elect candidates of their choice than does the Adopted
            Congressional Redistricting Plan.




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XI.   Appendices

      Appendix 1 is my curriculum vita.

      Appendix 2 is the list of voting-rights cases for which I served as an expert
      witness.

      Appendix 3 is the Data Acquisition, Processing, and Aggregation Process




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Baodong Liu, Ph.D.




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                                           Appendix 1

                                        Curriculum Vitae

                                     Baodong Liu, Ph.D.
               Professor (with Tenure) in Political Science and Ethnic Studies
                                      University of Utah
              260 S. Central Campus Drive, Room 3231, Salt Lake City, UT 84112
                       Tel: Office (801) 585 7987; Fax: (801) 585 6492
                                 E-mail baodong.liu@utah.edu



PROFESSIONAL EXPERIENCE

Professor of Political Science and Ethnic Studies, affiliated with Asian Studies, 2008-present
Associate Chair, Political Science Department, 2015-2017
Interim Director, Ethnic Studies Program, 2011-2013
University of Utah
    Courses taught: Advanced Quantitative Methods (graduate), American Political Behavior
    (graduate), Race and Political Volatility in the US (graduate/undergraduate), Voting, Election
    and Public Opinion, Racial and Ethnic Politics, Political Analysis, Asian American
    Contemporary Issues, Social Justice and Inequality, Asian Pacific American Experiences,
    Methodology in Ethnic Studies.

TRISS Endowed Professor in Political Science, 2007-8
Associate Professor (early promotion to associate professor 2005, early tenure 2006)
Assistant Professor, 2002-2005
Department of Political Science
University of Wisconsin-Oshkosh
    Courses taught: Race and Ethnicity in American Politics, Politics of Urban Growth, Political
    Method, State and Local Government, Political Analysis, American Government, National,
    state and Local Government.

Assistant Professor of Political Science
Department of Political Science
Stephens College, Columbia, Missouri, 1999 - 2002
     Courses taught: Urban and Minority Politics, Legislative Process, American Presidency,
     Campaigning and Lobbying, Macroeconomics, American Government, and Introduction to
     Statistics.

Consultant, Expert Witness, Principal Investigator, Opinion Writer/Commentator, 2000-present
    Provided research services to the US Department of Justice, New America, Navajo Nation,
    Southern Coalition for Social Justice, National Science Foundation, Lawyers’ Committee for
    Civil Rights Under Law, Florida State Legislature, Illinois State Legislature, Wisconsin
    Security Research Consortium, Fond du Lac School District, Johnson Controls, Inc, City of
    Waupaca (WI), and Wisconsin Public Service, among others.
    Served also as a commentator and/or opinion writer for Salt Lake Tribune, ABC4News,
    Hinkley Forum, NPR, AP, Daily Utah Chronicle, ETtoday, Chinese Americans, Milwaukee
    Sentinel Journal, Daily Caller, KSL, among other media outlets.



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EDUCATION

Ph.D. in Political Science (1999), University of New Orleans, Louisiana
Dissertation: Black Candidates, White Voters and Racial Context
Winner of Byran Jackson Award, Urban Politics Section, American Political Science Association,
and Winner of Ted Robinson Award for the best research in race and ethnicity, Southwestern
Political Science Association

Master of Arts in Political Science (1995), Oklahoma State University, Stillwater, Oklahoma

Bachelor of Laws (1987), The East China University of Political Science and Law, Shanghai,
China

Post-Doctoral Educational Program Participant

National Science Foundation’s “Local Elections in America Project Workshop,” Macalester
College, Saint Paul, MN (2009)

Methodological Issues in Quantitative Research on Race and Ethnicity, Inter-University
Consortium for Political and Social Research (ICPSR), University of Michigan (2006)

Mapping Your City with GIS Workshop, New Urban Research, Madison, Wisconsin (2005)

Jessie Ball duPont Summer Seminars for Liberal Arts College Faculty, the National Humanities
Center, Research Triangle, North Carolina (2001)

PROFESSIONAL PUBLICATIONS (contribution is in the order of authors for publications
with multiple authors).

A) Books

Liu, Baodong. Political Volatility in the United States: How Racial and Religious Groups Win
and Lose. (forthcoming, Lexington Books)

Liu, Baodong. Ed. (2018). Solving the Mystery of the Model Minority: The Journey of Asian
Americans in America. Cognella Academic Publishing.

Liu, Baodong. (2016). Race, Ethnicity and Religion in the American Political Arena. University
Readers.

Liu, Baodong. (2015). Social Research: Integrating Mathematical Foundations and Modern
Statistical Computing. Cognella Academic Publishing.

Liu, Baodong. (2013). Understanding the Scientific Method: A Social Science Approach.
University Readers.

Liu, Baodong. (2010). The Election of Barack Obama: How He Won. Palgrave Macmillan.
Reviewed by Hanes Walton, Jr. (2012) for The American Review of Politics.




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Liu, Baodong and James Vanderleeuw. (2007). Race Rules: Electoral Politics in New Orleans,
1965-2006. Lexington Books. Paperback and Hardback. Reviewed by Peter Burns (2008) for
Urban Affairs Review; also reviewed by Robert Dupont (2008) for H-Urban.

Liu, Baodong. (2002). Making American Democracy Work: Reforms and Debates. The McGraw-
Hill, Inc.

B) Peer-Reviewed Journal Articles

Liu, Baodong, Porter Morgan and Dimitri Kokoromytis. (forthcoming) “Immigration,
Nation-State Contexts and Value Changes of Ethnic Chinese” Athens Journal of Social
Sciences.

Liu, Baodong, Zachary Stickney, and Nicole Batt. (2020). “Authoritarianism for and
against Trump,” Journal of Behavioral and Social Sciences 7(3): 218-238.

Liu, Baodong. (2018). “The Haitian and Cuban American Electorates in South Florida:
Evidence from Ten Federal, State and Local Elections, 2008-2014.” National Political
Science Review 19 (1): 51-60.

Wei, Dennis, Weiyi Xiao, Christopher Simon, Baodong Liu, Yongmei Ni. (2018).
“Neighborhood, Race and Educational Inequality.” Cities 73: 1-13.

Simon, Christopher A., Nicholas P. Lovrich, Baodong Liu, and Dennis Wei. (2017). “Citizen
Support for Military Expenditure Post 9/11: Exploring the Role of Place of Birth and Location of
Upbringing.” Arm Forces and Society 44 (4): 688-706.

Liu, Baodong, Dennis Wei, and Christopher A. Simon. (2017). “Social Capital, Race, and Income
Inequality in the United States.” Sustainability 9 (2): 1-14.

Liu, Baodong. (2014). “Post-Racial Politics? Counterevidence from the Presidential Elections,
2004-2012.” Du Bois Review: Social Science Research on Race 11(2): 443-463.

Liu, Baodong. (2014). “Racial Context and the 2008 and 2012 US Presidential Elections.” Athens
Journal of Social Sciences 1(1): 21-33.

Liu, Baodong. (2011). “Demythifying the “Dark Side” of Social Capital: A Comparative
Bayesian Analysis of White, Black, Latino, and Asian American Voting Behavior.” The
American Review of Politics 32 (Spring): 31-56.

Byron D’Andra Orey, L. Marvin Overby, Pete Hatemi and Baodong Liu. (2011). “White Support
for Racial Referenda in the Deep-South.” Politics & Policy 39 (4): 539-558 .

Geoffrey M. Draper, Baodong Liu, and Richard F. Riesenfeld. (2011). “Integrating Statistical
Visualization Research into the Political Science Classroom.” Information Systems Education
Journal 9 (3): 83-94.

Liu, Baodong. (2011). “Obama’s Local Connection: Racial Conflict or Solidarity?” PS: Political
Science and Politics 44 (1): 103-105.



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Liu, Baodong. (2011). “State Political Geography and the Obama White Vote.” World Regional
Studies 20 (4): 1-15. (in Chinese)

Liu, Baodong, Sharon D. Wright Austin, and Byron D’Andrá Orey. (2009). “Church Attendance,
Social Capital, and Black Voting Participation” Social Science Quarterly 90 (3): 576-92.

Vanderleeuw, James, Baodong Liu, and Erica Nicole Williams. (2008). “The 2006 New Orleans
Mayoral Election: The Political Ramifications of a Large-Scale Natural Disaster.” PS: Political
Science and Politics 41 (4): 795-801.

Liu, Baodong and Robert Darcy. (2008) “Race, Immigration, and Party Strategies in the US
Elections,” Íslenska Leiðin: 33-39.

Liu, Baodong. (2007). "EI Extended Model and the Fear of Ecological Fallacy," Sociological
Methods and Research 36 (1): 3-25.

Liu, Baodong. (2006). “Whites as a Minority and the New Biracial Coalition in New Orleans and
Memphis,” PS: Political Science and Politics 40 (1): 69-76.

Vanderleeuw, James, and Baodong Liu. (2006). “Racial Polarization or Biracial Coalition? An
Empirical Analysis of the Electoral Coalition of Winning Candidates in Urban Elections,”
American Review of Politics 27 (Winter): 319-344.

Liu, Baodong, and James Vanderleeuw. (2004). “Economic Development Priorities and Central
City/Suburb Differences,” American Politics Research 32 (6): 698-721.

Vanderleeuw, James, Baodong Liu, and Greg Marsh. (2004). “Applying Black Threat Theory,
Urban Regime Theory, and Deracialization: The Memphis Mayoral Elections of 1991, 1995, and
1999,” Journal of Urban Affairs 26 (4): 505-519

Liu, Baodong, and James Vanderleeuw. (2003). “Growth Imperative, Postmaterialism and Local
Decision-Makers,” Journal of Political Science 31: 173-96.

Liu, Baodong. (2003). “Deracialization and Urban Racial Context,” Urban Affairs Review 38 (4):
572-591.

Vanderleeuw, James and Baodong Liu. (2002) "Political Empowerment, Mobilization, and
Black-Voter Rolloff," Urban Affairs Review 37 (3): 380-96.

Liu, Baodong. (2001). "The Positive Effect of Black Density on White Crossover Voting:
Reconsidering the Social Interaction Theory," Social Science Quarterly 82 (3): 602-615.

Liu, Baodong. (2001). "Racial Context and White Interests: Beyond Black Threat and Racial
Tolerance," Political Behavior 23 (2): 157-80.

Liu, Baodong, and James Vanderleeuw. (2001). "Racial Transition and White-Voter Support for
Black Candidates in Urban Elections," Journal of Urban Affairs 23 (3/4): 309-22.

Liu, Baodong. (2001). “Interests and Opinions among African-Americans: A Test of Three
Theories,” the Texas Journal of Political Studies 21 (2): 113-24.



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Liu, Baodong, and James Vanderleeuw. (1999). "White Response to Black Political Power: the
Case of New Orleans, 1980-1994." Southeastern Political Review 27 (1): 175-188.

C) Book Chapters, Encyclopedia Entries and other Peer-reviewed Articles

Liu, Baodong, Nadia Mahallati, and Charles Turner. (2021). “Ranked-Choice Voting
Delivers Representation and Consensus in Presidential Primaries” Available at
SSRN: https://ssrn.com/abstract=3822879 or http://dx.doi.org/10.2139/ssrn.3822879

Liu, Baodong. “The Growth of Scientific Knowledge through Social Computing
Networks” (2021). The 19th International E-Society Conference Proceedings.

Liu, Baodong. (2014). “Racial Context and the 2008 and 2012 US Presidential Elections”
in Yannis A. Stivachtis and Stefanie Georgakis Abbott, ed. Addressing the Politics of
Integration and Exclusion: Democracy, Human Rights and Humanitarian Intervention.
Athens: Atiner publications. (Also published in Athens Journal of Social Sciences.)

Liu, Baodong. (2011). “Mayor” in International Encyclopedia of Political Science. CQ Press.
Liu, Baodong. (2011). “Roll-off” in International Encyclopedia of Political Science. CQ Press.

Liu, Baodong and Carolyn Kirchhoff. (2009) “Mayor”, Encyclopedia of American Government
and Civics, eds. Michael A. Genovese and Lori Cox Han. New York: Facts on File.

Liu, Baodong and Robert Darcy. (2006). “The Rising Power of Minorities and the Deracialization
of U.S. Politics” in Gillian Peele, Christopher J. Bailey, Bruce E. Cain, and B. Guy Peters, ed.
Developments in American Politics 5. Hampshire, UK: Palgrave Macmillan/Macmillan
Publishers.

D) Book Reviews

Liu, Baodong. (2010). Review of Zoltan L. Hajnal, America’s Uneven Democracy: Race,
Turnout, and Representation in City Politics in American Review of Politics 31 (summer): 157-
160.

Liu, Baodong. (2008). Review of Rodney E. Hero, Racial Diversity and Social Capital, in Urban
Affairs Review 44 (1):146-149.

Liu, Baodong. (2006). Review of Peter Burns, Electoral Politics Is Not Enough, in American
Review of Politics 27 (Spring): 186-189.

Liu, Baodong. (1999). Review of Terry Nichols Clark and Vincent Hoffmann-Martinot (ed), The
New Political Culture, in American Review of Politics 20: 99-102.

E). Other Publications/Editorials

Liu, Baodong. (2021). “Asian Americans and Minority Voters: The New Destination of Partisan
Competitions?”. ETtoday. January 8, 2021. (in Chinese/Taiwanese)




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Liu, Baodong. (2020). “Checks and Balances and the End of Trump Legal Battles”. ETtoday.
Dec. 29, 2020. (in Chinese/Taiwanese)

Liu, Baodong. (2020). “Trump’s Legal Battles and the New Beginning of the Electoral Laws?”.
ETtoday. Nov. 10, 2020. (in Chinese/Taiwanese)

Liu, Baodong and Feng Ling. (2018). “Liberalism or Conservatism: Which One Contributes to
America More?” Chinese Americans, No. 1565. (in Chinese).

Liu, Baodong. (2018). “The Lawsuit against Harvard and Asian-American Attitude toward
Affirmative Action,” Chinese Americans, No. 1207. (in Chinese).

Liu, Baodong. (2016). “Lu Xun’s Attack on Old Chinese Regime and St. Augustine’s Self
Examination,” Overseas Campus (in Chinese).

Liu, Baodong. (2015). “Will Christianity Bring about Democracy?” Overseas Campus 130
(June): 40-43. (in Chinese)

Liu, Baodong. (2011). “New Ethnic Studies Major at the U: Education for the 21st Century”
Diversity News 2011 (Fall). http://diversity.utah.edu/newsletter/fall-2011/ethnic-studies-
degree.php.

Liu, Baodong (2008). “The Urban Politics Field as We Know It.” Urban News 22 (1): 1-2.

Liu, Baodong. (2008). “Negative Campaigning a Desperate Strategy,” The Daily Utah Chronicle.
Guest Column. October 20, 2008.

Liu, Baodong. (2007). “The 2006 Midterm Election: Angry Voters? Yes! Clear Vision? No!”
Wisconsin Political Scientist XIII (2): 9-10.

Liu, Baodong. (2006). “Midterm Election Results Show No Clear Future Vision.” Guest Column,
Advance-Titan. Nov. 9, 2006: A5.

Liu, Baodong and James Vanderleeuw. (2003). “Local Policymakers and Their Perceptions of
Economic Development: Suburbs, Central Cities and Rural Areas Compared” Wisconsin Political
Scientist IX (1): 4-7.

SOFTWARE DEVELOPMENT/GRANTS

diaglm, the author of the R software statistical package for diagnosing and visualization of
violations of linear and nonlinear statistical modeling, published at GitHub (bblpo/diaglm). 2019.

diagglm, the author of the R software statistical package for diagnosing and visualization of
violations of nonlinear statistical modeling, published at github (bblpo/diagglm). 2019.

Principal Investigator, “Authoritarianism in the Global Ethnic Chinese Communities”, a grant
proposal supported by University Sabbatical Leave and Asia Center Travel Award. 2020. $1500

Principal Investigator, with Co-Pi, Mike Cobbs (North Carolina State University) and Richard
Engstrom (University of Houston). “Understanding the Support for Ranked-Choice Voting,”


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initial grant proposal supported by Political Reform Program, New America. Washington
D.C. 2020. $40,000

Co-PI, with Dennis Wei (PI) and Reid Ewing. “Urban Form, Amenity, and Upward
Mobility in the United States,” initial grant proposal submitted to Russell Sage
Foundation, 2017. (rejected)

Co-PI, with Annie Isabel Fukushima (PI). “Victimhood, Human Trafficking and Immigration:
Victimhood in the Face of Criminal Charges.” American Council of Learned Societies
Collaborative Research Program. 2015-16. (rejected)

Co-PI, with Dennis Wei (PI) and Chris Simon. “Amenity, Neighborhood and Spatial Inequality:
A Study of Salt Lake County,” Interdisciplinary Research Pilot Program (IRPP), College of
Social and Behavioral Science, the University of Utah, 2015. $10,000.

Co-PI, with Annie Isabel Fukushima (PI). “Victimization, Human Trafficking and Immigrants:
Mixed Methods analysis of the Perceptions of Victimhood in U.S. Courts (2000 – 2015)”,
submitted to National Institute of Justice, 2015. $997,407. (rejected)

Co-PI, with Daniel McCool. “The Efficacy of American Indian Voting: A Pilot Project”
Research Incentive Grant, College of Social and Behavioral Science, the University of Utah.
(2014-). $7500.

I have provided my Expert Witness Opinions on federal voting rights cases such as Traci Jones et
al vs. Jefferson County Board of Education et al, (Alabama, 2019); CMA v. Arkansas (Arkansas,
2019); Navajo Nation, et al, vs. San Juan County, et al, (Utah District, 2012); League of Women
Voters of Florida, et al v. Detzner, et al, (Florida, 2012); Anne Pope et. al. v. County of Albany
and the Albany County Board of Elections (N.D., NY 2011); Radogno, et al v. State Board of
Elections, et al, (N.D., IL, 2011); NAACP v. St. Landry Parish et al, (W.D. LA 2003); Arbor Hill
Concerned Citizens Neighborhood Association et al v. County of Albany (N.D. NY 2003);
Hardeman County Branch of NAACP v. Frost (2003).

Expert Instructor, Racially Polarized Voting and Political Participation: EI and EZI. Expert
Preparation Program, Community Census and Districting Institute. A grant supported by Ford
Foundation and Southern Coalition for Social Justice, Duke University, Durham, North Carolina.
2010.

Principal Investigator, 2010-2012. A Multi-level Analysis of Obama Racial Coalition in 2008 and
2012. A project funded by the PIG grant of College of Social and Behavior Sciences, the
University of Utah.

Co-PI. Educational Succession Movements in U.S. Metropolitan Areas, proposal submitted to
Seed Grants, the University of Utah. 2009. Rejected.

Recipient, Faculty Sabbatical Grant, 2008. University of Wisconsin Oshkosh, grant offered, but
finally declined the offer due to job change.

Grant Director/Faculty Advisor, 2008. The WiscAMP program, National Science Foundation.




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Principal Investigator, 2007. Wisconsin Research and Development Capacity Study. A project
funded by Wisconsin Security Research Consortium.

Principal Investigator, 2007. The Impact of Industrial Involvement on Science Education in
Wisconsin. A project funded by Johnson Control, Inc.

Principal Investigator, 2007. The Impact of Fond du Lac School District on Local Economic
Development. A project funded by Fond du Lac School District.

EI Methodologist, 2007. Retrogressive Effects of H.B. No. 1565 on Latino Voters in the Bexar
County Metropolitan Water District, TX.

Principal Investigator, 2006. The Impact of Economic Development on Citizen Opinions. A
project funded by City of Waupaca, Wisconsin Public Services.

Principal Investigator, 2006. Leading the Big Easy: Will the Biracial Coalition Sustain Katrina?
Institute on Race and Ethnicity, University of Wisconsin System. 2006.

Methodological Issues in Quantitative Research on Race and Ethnicity, Inter-University
Consortium for Political and Social Research (ICPSR), Institute of Social Research, University of
Michigan, 2006.

Off-Campus Program Grant, Faculty Development, the University of Wisconsin-Oshkosh, 2006.

GIS and Social Research, Small Research Grant, Faculty Development Program, the University
of Wisconsin-Oshkosh, 2005.

Principal Investigator, Getting the White Votes. American Political Science Association Research
Grant, Washington D.C., 2003.

Principal Investigator, A Comparative Study of Urban Elections. Faculty Research Development
Grant, the University of Wisconsin-Oshkosh, Oshkosh, Wisconsin, 2004.

Principal Investigator, Getting the White Votes. Faculty Research Development Grant, the
University of Wisconsin-Oshkosh, Oshkosh, Wisconsin, 2003.

Advanced Graduate Student Travel Grant, the American Political Science Association, 1999

AWARDS AND HONORS

Nominee for the Career & Professional Development Center, Faculty Recognition
Program, University of Utah. 2018.

Winner of A Showcase of Extraordinary Faculty Achievements (for publication of my book, Social
Research: Integrating Mathematical Foundations and Modern Statistical Computing. San Diego:
Cognella Academic Publishing), With commendation from the J. Willard Marriott Library and
the Office of the Vice President for Research. University of Utah. 2016

Nominee for the Social and Behavior Science College Superior Research Award (senior scholar
category), nominated by the political science department in both 2011 and 2012.



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Professor of Political Science (National 985-Plan Supported Foreign Scholar), Taught Summer
Class at School of Government, Nanjing University, Nanjing, China. 2012.

TRISS Endowed Professorship for Excellence, University of Wisconsin Oshkosh, 2007-8

Artinian Award for Professional Development, Southern Political Science Association, 2004

Byran Jackson Award for the best research/dissertation in racial and ethnic politics in an urban
setting, Urban Politics Section, the American Political Science Association, 1999

Ted Robinson Award for the best research in race and ethnicity, Southwestern Political Science
Association, 1999

Who’s Who in America, 2001-2006, Marquis, USA.

Davis Summer Research Grant, Stephens College, 2001

Firestone Baars Grant for Faculty Development, Stephens College, 1999-2001

Vice President Discretion Grant for Research, Stephens College, 2001, 2000

Advanced Graduate Student Travel Grant, the American Political Science Association, 1999

Graduate Student Travel Grant, University of New Orleans, 1997

The Best Graduate Student Paper Award, Department of Political Science, Oklahoma State
University, 1993

Pi Sigma Alpha, National Political Science Honor Society, 1994

PROFESSIONAL POSITIONS

Member, Review Board, Journal of Behavioral and Social Sciences. 2019-

Member, Board of Directors, National Association for Ethnic Studies, 2013-2015

Editorial Board, Urban Affairs Review, 2008-2011

Editorial Advisor, International Encyclopedia of Political Science, CQ Press, 2005-2011

Editor, Urban News, Urban Politics Section, American Political Science Association, 2004-2010

Chair, Urban Politics Program, Southern Political Science Association Annual Convention, 2008

Co-Chair, Asian Pacific American Caucus, American Political Science Association, 2004-2006

Member, American Political Science Association Small Research Grant Committee, 2005

AS A JUDGE OR REVIEWER OF WORKS OF OTHER SCHOLARS FOR ACADEMIC
JOURNALS OR PRESSES



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2001-present
Perspectives; Politics and Religion; American Political Science Review; Lexington Books;
Journal of Behavioral and Social Sciences; The National Science Foundation; Sage Publications,
W. W. Norton & Company, Inc; McGraw Hill Publishing; Journal of Politics; National Political
Science Review, Political Analysis; Social Science Quarterly; Urban Affairs Review; Political
Research Quarterly; Politics and Policy; Journal of Urban Affairs; American Politics Research;
Public Opinion Quarterly; Political Behavior; Sociological Methods and Research

PROFESSIONAL AND COMMUNITY SERVICES

Reviewer, University URC Faculty Scholarly Grant Program, 2020

Chair, Faculty Tenure and Promotion Committee, Political Science, 2019-2020

Member, Curriculum Overhaul Committee, Ethnic Studies, 2018-2019

Member, Faculty Tenure and Promotion Committee, Political Science, 2018-2019

Chair, Faculty Tenure and Promotion Sub-Committee, Ethnic Studies, 2017-2018

Member, Graduate Committee, political science department, the University of Utah, 2014-2018

Member, Executive Committee, political science department, the University of Utah, 2014-2018

Faculty Senator, the University of Utah, 2015-2018

Chair, American Politics Field, political science department, the University of Utah, 2014-1018

Member, GC Building Committee, Social Science Lab, 2015-2018

Expert Volunteer for Utah Fair Redistricting Legal Team, 2017

Member, Assistant Vice President for Diversity Search Committee, 2015-2016

Member, Ad Hoc Graduate Committee for Writing, 2015-2016

Chair, Faculty Joint Appointment Search Committee, ethnic studies program and theatre
department, the University of Utah, 2014-2015

Member, Betty Glad Foundation Committee, political science department, the University of Utah,
2014-2015

Chair, Awards Committee, National Association for Ethnic Studies, 2014

Faculty Mentor to Junior Faculty, Department of Political Science, 2013-2018

Chair, University of Utah MLK Committee. 2012-2013.

Member, Graduate School Dean Search Committee, 2013.




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Member, University Diversity Leadership Team, the University of Utah. 2010-2013.

Member, University Teaching Program Committee, the University of Utah, 2011-2013.

Member, University Diversity Curriculum Committee, Undergraduate Studies, the University of
Utah, 2011-2013.

Judge, The Research Day of College of Social and Behavioral Science, 2011-2013.

Member, Organizing Committee, International Conference on Urbanization and Development in
China, University of Utah, August 2010.

Member, Retention, Promotion, and Tenure Committee, Department of Political Science, the
University of Utah. 2011-2013.

Assistant Director, Ethnic Studies Program, the University of Utah. 2010-2011.

Committee Member, Undergraduate Studies, Department of Political Science, the University of
Utah. 2009-2011.

Committee Member, Utah Opportunity Scholarship, the University of Utah, reviewing and
making decisions on more than 200 applications. 2009-2010.

Member, Ethnic Studies Positions Exploration Committee, the University of Utah. 2009-2010.

Member, Marketing Committee, Department of Political Science, the University of Utah. 2009-
2010.

Guest Speaker, “Obama and the 2008 Presidential Election: A Spatial Analysis” at the Graduate
Seminar titled Introduction of Survey Research in Higher Education. College of Education. The
University of Utah. Feb. 3, 2009.

Special Speaker, “Obama and the Minimum Winning Coalition” Ethnic Studies Works in
Progress Presentation. The University of Utah. Dec., 5, 2008.

Special Speaker, “Election 2008: A Symposium,” Hinckley Institute of Politics, University of
Utah. October 6, 2008.

Special Speaker, “Predicting the 2008 Presidential Election Outcomes” Discussion on the 2008
Presidential Election. Political Science Department, the University of Utah. Sept. 25, 2008.

Political Commentator for reporting from Salt Lake Tribune, AP, EFE Hispanic News Services,
Milwaukee Journal Sentinel, WHBY, KFRU radio stations, the Post-Crescent, Oshkosh
Northwestern, Columbia Missourian, and the Daily Utah Chronicle (December 1999 to present)

Faculty Representative for University of Wisconsin-Oshkosh, ICPSR, University of Michigan,
2007-8

Member, Board of Trustees, Wisconsin International School, 2007-8

Member, UWO Office of Institutional Research Advisory Board, 2007-8


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President, Northeast Wisconsin Chinese Association, 2007 (executive vice president, 2006)

Member, Program Evaluation Committee. College of Letters and Science, University of
Wisconsin-Oshkosh, 2007-8

Member, Political Science Curriculum, Center for New Learning, University of Wisconsin-
Oshkosh, 2007-8

Moderator, Oshkosh City Forum, Mayoral Candidates’ Debates, March 23, 2005

Grant Reviewer, Faculty Development Program. University of Wisconsin-Oshkosh, 2004-8

Member, African American Minor Counsel. University of Wisconsin-Oshkosh, 2006-.

Member, Search Committee for University Foundation President. University of Wisconsin-
Oshkosh, 2005-2006.

Member, Faculty Senate Libraries & Information Services Committee. University of Wisconsin-
Oshkosh, 2005-2008.

Chair/Member, Curriculum Committee, Dept. of Political Science, University of Wisconsin-
Oshkosh, September 2002-8

Chair, Budget Committee, Dept. of Political Science, University of Wisconsin-Oshkosh,
September 2007-8

Member, Personal Committee, Dept. of Political Science, University of Wisconsin-Oshkosh,
September 2007-8

Member, Search Committee, Dept. of Political Science, University of Wisconsin-Oshkosh,
September 2002-8

Faculty Director, the Stephens College Model UN Team, National Model United Nations
Conference, New York, New York, (3/2002)

Chair, Political Science Search Committee, Stephens College (August 2001 to May 2002)

Member, Editorial Advisory Board, Collegiate Press, San Diego, California (2000 to 2001)

Chair, Harry Truman Scholarship Committee, Stephens College (2000 to 2002)

Member, Strategic Planning and Budgeting Committee, Stephens College (2000 to 2002).


CONFERENCE PAPER/PROCEEDINGS

Liu, Baodong. “Racial Prejudice behind the Anti-Affirmative Action Attitude of Asian
Americans” paper presented at the Western Political Science Association Annual
Conference. San Diego. 4/2019.



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Liu, Baodong, Porter Morgan and Dimitri Kokoromytis. “Immigration, Nation-State
Contexts and Value Changes of Ethnic Chinese” paper presented at the Midwest Political
Science Association Annual Conference. Chicago. 4/2019.

Baodong Liu. “The Strategical Religious Voter”, paper presented at the Midwest Political Science
Association Annual Meeting. Chicago, Illinois. 4/2018.

Baodong Liu, Nicole Batt and Zackery Stickney. “Authoritarianism for and against Trump”,
paper presented at the Annual Meeting of Behavioral and Social Sciences, Las Vegas, Nevada.
2/2018.

Baodong Liu. “The Strategic Religious Voter”, paper presented at the Oxford Symposium on
Religious Studies, Oxford, UK. 3/2016.

Baodong Liu. “The Political Fate of Religious Minorities in the U.S. Presidential Elections.”
paper presented at the 19th Annual American Association of Behavioral and Social Sciences. Las
Vegas, Nevada. 2/2016.

Baodong Liu. “The Political Fate of Religious Minorities in the U.S. Presidential Elections.”
paper presented at the Hawaii University International Conferences on Arts, Humanities, Social
Sciences and Education. Honolulu, Hawaii. 1/2016.

Baodong Liu. “Statistical Inference and Visualization of Big Data in Urban Research”, paper
presented at the 3rd International Conference on China Urban Development, Shanghai, China.
6/2015.

Baodong Liu. “Race, Religion, and U.S. Presidential Elections,” paper presented at the Annual
Convention of National Association for Ethnic Studies, Oakland, California. 4/2014.

Baodong Liu. “Racial Context and the 2008 and 2012 US Presidential Elections,” paper presented
at the 11th Annual International Conference on Politics & International Affairs, Athens, Greece.
6/2013.

Baodong Liu. “Deracialization in the Post-Obama Era,” presented at the National Black Political
Scientist Association Annual Meeting. Las Vegas, Nevada. 3/2012.

Baodong Liu. “Obama’s Racial Coalition,” paper presented at the Southwestern Social Science
Association Annual Meeting. Las Vegas, Nevada. 3/2011.

Geoffrey M. Draper, Baodong Liu, and Richard F. Riesenfeld. “Integrating Statistical
Visualization Research into the Political Science Classroom” Information Systems Educators
Conference. 2010. Nashville, Tennessee. 10/2010.

Baodong Liu. “Space and Time: An Empirical Analysis of 2008 Presidential Election,” paper
delivered at the Annual American Political Science Association Conference, Toronto, Canada,
9/2009.




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Baodong Liu. “Sequential and Spatial Voting: An Analysis of the 2008 Democratic Primaries,”
paper presented at the 2009 Midwest Political Science Association Annual Conference, Chicago,
Illinois, 4/2009.

Baodong Liu. “Social Capital, Race, and Turnout,” paper presented at the 2008 Midwest Political
Science Association Annual Conference, Chicago, Illinois, 4/2008.

Baodong Liu and Lori Weber. “Social Capital and Voting Participation,” paper presented at the
2008 Southern Political Science Association Annul Meeting, New Orleans, Louisiana, 1/2008.

Baodong Liu. “The 2006 New Orleans Mayoral Election,” paper presented at the 2007 Midwest
Political Science Association Annual Conference, Chicago, Illinois, 4/2007.

James Vanderleeuw, Baodong Liu, and Erica Williams. “The Political Ramifications of a Large-
Scale Natural Disaster,” paper presented at the 2006 annual conference, the American Political
Science Association, Philadelphia, 9/2006.

Baodong Liu. “EI Extended Model and the Fear of Ecological Fallacy,” paper presented at the
2006 Midwest Political Science Association Annul Meeting, Chicago, Illinois, 4/2006.

Baodong Liu. “The Fear of Ecological Fallacy and the Methods to Conquer It” paper presented at
the Western Political Science Association Annual Meeting, Oakland, CA, 4/2005.

Baodong Liu. “The Whites Who Stayed in the City,” paper presented at the 2004 Midwest
Political Science Association Annul Meeting, Chicago, Illinois, 4/2004.

Baodong Liu. “Whites as a Minority and the New Biracial Coalition,” paper presented at the 2004
Southern Political Science Association Annul Meeting, New Orleans, Louisiana, 1/2004.

Baodong Liu and James Vanderleeuw. “Economic Development Priorities and Central
City/Suburb Differences,” presented at the 2003 Midwest Political Science Association Annual
Meeting, Chicago, Illinois, 4/2003.

James Vanderleeuw, Baodong Liu, and Greg Marsh, “Divided Leadership and Racial Reflexivity
in Memphis: An Analysis of the 1991, 1995 and 1999 Mayoral Elections,” presented at the 2003
Southwestern Political Science Association Annual Meeting, San Antonio, Texas, 4/2003.

Baodong Liu. “White Votes Count: The Effect of Black Candidates’ Qualifications on White
Crossover Voting,” paper presented at the 98th American Political Science Association
Conference, Boston, Massachusetts, 9/2002.

Baodong Liu. “Searching for a ‘Qualified’ Black Candidate,” Proceedings of the 97th American
Political Science Association Conference, San Francisco California, 9/2001.

Baodong Liu. “In Defense of an Ethical Rational Choice Theory,” paper delivered at the 2001
Jessie Ball duPont Fund Summer Seminars for Liberal Arts College Faculty, the National
Humanities Center, Research Triangle, North Carolina, 6/2001.

Baodong Liu. "Reconsidering Social Interaction Theory," presented at the 2001 Western Political
Science Association Annual Meeting. Las Vegas Nevada, 3/2001.



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James Vanderleeuw, Baodong Liu, and John Johnson. "Economic Development Priorities of City
Administrators: A Report on a Survey of City Administrators in Texas," presented at the 2001
Louisiana Political Science Association Convention, Lamar Texas, 3/2001.

Baodong Liu. "Racial Transition: Explaining the Curvilinear Relationship between Black Density
and White Crossover Voting," Proceedings of the 96th American Political Science Association
Conference, Washington DC, 9/2000.

Baodong Liu and James Vanderleeuw. "Racial Transition: Explaining the Curvilinear
Relationship between Black Density and White Crossover Voting," presented at the 96th
American Political Science Association Conference, Washington DC, 9/2000.

Baodong Liu. "Electoral Law and the Russian Party System: A Comparative Study," presented at
the 58th Midwest Political Science Association Conference, Chicago Illinois, 4/2000.

James Vanderleeuw and Baodong Liu. "Rolling Off in the Context of Context,” presented at the
30th Southwestern Political Science Association Conference, Galveston Texas, 3/2000.

Baodong Liu. “The Changing Nature of Electoral Competition in Japan.” Roundtable Discussant,
the 52nd Association of Asian Studies Annual Meeting, San Diego California, 3/2000.

Baodong Liu. "Racial Context and White Voting Strategies," presented at the 95th American
Political Science Association Conference, Atlanta Georgia, 9/1999.

Baodong Liu. "The President's Support in Congress: A Test of U.S. China Policy, 1980-1994,"
The 1997 Southern Political Science Association Convention, Norfolk Virginia, 11/1997.

Baodong Liu. "Examining the Race Line: White Voting Behavior in New Orleans, 1980-1994,"
The 27th Southwestern Political Science Association Conference. New Orleans Louisiana, 3/1997.

Baodong Liu. "Intrapartisan Defeats and the Nomination Strategies of the Japanese Liberal
Democratic Party in the 1993 Election," The Sixth Annual Graduate Student Research
Symposium. Oklahoma State University. Stillwater Oklahoma, 2/1995.

INVITED SPEAKER, ROUNDTABLE/PANEL DISCUSSANT

Baodong Liu. “The 2020 Presidential Election and the Future of American Democracy”,
invited lecture given to Chinese Americans on Zoom. 9/2020.

Baodong Liu, Michael Cobb, and Richard Engstrom. “Understanding the Support for
Ranked-Choice Voting in Two Southern Cities” talk given at the Electoral Reform
Research Group, Research Development Conference. Washington D.C. 2/2020.

Baodong Liu. ““Nation-State Context and Authoritarian Value Changes of Ethnic
Chinese.” Talk given at the workshop of The Clash of Authoritarianisms: Secularism
versus Islamism in Turkey, University of Utah. 4/2019

Baodong Liu. “Trump’s Voters,” Panel Discussion on Presidential Primaries. Hinckley Institute
of Politics. The University of Utah. Salt Lake City, Utah. 3/2016



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Baodong Liu. “Big Data in the Social Sciences,” The Consortium for Research on China and Asia
(CROCA) and Policy at the Podium. The University of Utah. Salt Lake City, Utah. 11/2014.

Baodong Liu. “Deracialization in the Historial Perspective,” the National Black Political Scientist
Association Annual Meeting. Las Vegas, Nevada. 3/2012.

“Educating the Best Students in the 21st century: the New Ethnic Studies Major at the University
of Utah,” a presentation provided to the University Diversity Division Fall Retreat (8/12/2011),
the Ethnic Studies Program (8/17/2011), and the Community Council (9/13/2011), at the
University of Utah.

“Quantitative Analysis: Ecological Inferences and the Voting Rights Law,” a Ford Foundation
Project, Duke University. July 24-28, 2010.

“Election 2008: A Symposium,” Hinckley Institute of Politics, University of Utah. October 6,
2008.

“IMMIGRATION TODAY: What are the Issues?” League of Women Voters of the Oshkosh
Area Public Forum, November 12, 2007.

Theme Panel: “Bleaching” New Orleans? Power, Race, and Place After Katrina, the American
Political Science Association Annual Meeting, Philadelphia, September 2, 2006.

“2006 Midterm Election Preview,” American Democracy Project, the University of Wisconsin,
Oshkosh, November 2, 2006.

“Analysis on the 2006 Midterm Election Results,” American Democracy Project, the University
of Wisconsin, Oshkosh, November 9, 2006.

“The Politics of New Americans: Studying Asian American Political Engagement,” the American
Political Science Association Annual Meeting, Washington, D.C. September 3, 2005.

“Significance of Voting Rights Act,” Lawyers’ Committee for Civil Rights under Law, National
Asian Pacific American Legal Consortium, Mexican American Legal Defense and Educational
Fund, Washington DC: June 17-18, 2004.

“Protecting Democracy: Defining the Research Agenda for Voting Rights Reauthorization,” the
Civil Rights Project, Harvard University, Cambridge, MA. May 10, 2004.

Chair, the Politics of Ethnicity and Self-Determination Panel, International Studies Association-
Midwest Conference, St. Louis, Missouri, November 2, 2001.

PROFESSIONAL MEMBERSHIP

Pi Sigma Alpha, National Political Science Honor Society
American Political Science Association
Western Political Science Association
Midwest Political Science Association
Association for Asian American Studies
Association of Chinese Political Studies


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Southwestern Political Science Association

Serve as an Advisor/Committee Member for the following Graduate Students

Nicole Batt (Ph.D Dissertation Chair)
Jake Peterson (Ph.D Dissertation Chair)
Matt Haydon (Ph.D. Dissertation Chair)
Porter Morgan (Ph.D. Committee)
Charles Turner (Ph.D Committee)
Geri Miller-Fox (Ph.D Committee)
Alex Lovell (Ph.D Committee)
Samantha Eldrudge (Ph.D Committee)
Leslie Haligan-Park (Ph.D Committee)
Nicole Cline (Master Committee Chair)
Oakley Gordon (Master Committee)
Michael McPhie (Master Committee)




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                                     Appendix 2
              Voting Rights Cases in which I served as an Expert Witness

Milligan, et al. v. Merrill, et al., Case No. 2:21-cv-01530-AMM (Alabama, 2021)
Traci Jones et al vs. Jefferson County Board of Education et al, (Alabama, 2019)
CMA v. Arkansas, (Arkansas, 2019)
Navajo Nation, et al, vs. San Juan County, et al, (Utah, 2012)
League of Women Voters of Florida, et al v. Detzner, et al, (Florida, 2012)
Anne Pope et. al. v. County of Albany and the Albany County Board of Elections (N.D.,
NY 2011)
Radogno, et al v. State Board of Elections, et al, (N.D., IL, 2011)
NAACP v. St. Landry Parish et al, (W.D. LA 2003)
Arbor Hill Concerned Citizens Neighborhood Association et al v. County of Albany,
(N.D. NY 2003)
Hardeman County Branch of NAACP v. Frost, (TN, 2003)




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                                            Appendix 3

            Description of the Data Acquisition, Processing, and Aggregation Process

Data Acquisition
   1. Acquired 2016, 2018, and 2020 precinct-level shapefiles from the Voting and Election
       Science Team. Joined those shapefiles to 2016, 2018, and 2020 precinct-level election
       returns from the Alabama Secretary of State’s office, which were processed and cleaned
       by OpenElections.
           a. Acquired and cleaned 2014 precinct-level election returns from the Alabama
                Secretary of State’s office, and joined those to the 2016 precinct-level shapefile
                acquired from the Voting and Election Science Team.
           b. Since absentee and provisional vote is reported at the county level, distributed the
                county-level absentee and provisional vote for each candidate to the precincts in
                the county, proportional to the share of the candidate’s vote total in the county
                that was reported from each precinct.
   2. Acquired 2020 Census Block shapefiles, total population by race and ethnicity, and
       voting age population by race and ethnicity directly from the Census FTP portal.
   3. Acquired 2010 Census block total population by race and ethnicity, and voting age
       population by race and ethnicity, directly from the Census FTP portal.
   4. Acquired VTD block assignment files, congressional district block assignment files, state
       house district block assignment files, and state senate district block assignment files from
       the Census website.
   5. Acquired the draft congressional, state house, and state senate plans from a member of
       the Alabama Permanent Legislative Committee on Reapportionment.

Data Processing
   1. For datasets that were on the 2020 census block level (total population, voting age
       population, VTD assignment, congressional district assignment, state house district
       assignment, and state senate district assignment), joined these datasets to the 2020 Census
       block shapefile.
   2. For datasets that were not on the level of the census block (2014, 2016, 2017, 2018, and
       2020 election returns – precinct), disaggregated them down to the 2020 census block
       level. Then joined them to the 2020 Census block shapefile.
   3. For the 2010 Census block data, used the Census’ Block Relationship File to measure the
       area overlap between the 2010 and 2020 census blocks. Then distributed the 2010 census
       block population data to the 2020 census blocks, proportionally to the land area overlap
       between the 2010 and 2020 census blocks.
Data Aggregation
   1. Aggregated the full block-level dataset up to the level of the 2020 voting districts, taking
      into account (a) discontiguities in voting districts and (b) splits of voting districts by any
      of the implemented and proposed plans.




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